                   Case: 25-1583
                   UNITED  STATES Document:
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                                            APPEALS  1   Date
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                                                                      CIRCUIT

                                                     No. 25-1583

                        Atlas Data Privacy Corporation, et al.   vs. Belles Camp Communications, Inc.

                                                 ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Petitioner-Defendant Belles Camp Communications, Inc.
Indicate the party’s role IN THIS COURT (check only one):
          ✔ Petitioner(s)
         ____                             ____ Appellant(s)                   ____ Intervenor(s)

         ____ Respondent(s)               ____ Appellee(s)                    ____ Amicus Curiae
                               Stephen M. Orlofsky
(Type or Print) Counsel’s Name ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (3)

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SIGNATURE OF COUNSEL: /s/ Stephen M. Orlofsky

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waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
